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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SEA SHIPPING LINE, INC.,                             §
                                                     §
       Plaintiff,                                    §
                                                     §
v.                                                   §
                                                     §      Civil Action No. 4:22-cv-0550
MY EQUIPMENT, LLC                                    §
                                                     §
       Defendant                                     §



           ORDER ON DEFENDANT’S RULE 12(b)(1) MOTION TO DISMISS
               FOR LACK OF SUBJECT MATTER JURISDICTION


       After considering Defendant, My Equipment, LLC’s Rule 12(b)(1) Motion to Dismiss for

Lack of Subject Matter Jurisdiction and the response, if any,


It is ORDERED that Defendant’s Motion is hereby Granted; and

ORDERED that this lawsuit is hereby DISMISSED WITH PREJUDICE.



                                             _____________________________
                                             HON. PRESIDING JUDGE


                                             _____________________________
                                             Date




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Approved and Entry Requested,




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